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 5
     Attorney for Defendant
 6   GARRET GILILLAND III
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     )
                                                   )
11                          Plaintiff,             )       No. Cr. S-08-376 EJG
                                                   )
12                                                 )       STIPULATION AND
                    v.                             )       ORDER CONTINUING STATUS
13                                                 )       CONFERENCE; EXCLUSION OF TIME
     GARRET GILILLAND III, et al.,                 )
14                                                 )
                            Defendants.            )
15                                                 )
16          The United States of America, through Assistant U.S. Attorney Russell L. Carlberg, and
17   defendant Garret Gililland III, through his counsel Scott L. Tedmon, hereby stipulate that the Status
18   Conference set for Friday, January 15, 2010 at 10:00 a.m., be continued to Friday, May 7, 2010 at
19   10:00 a.m. before United States District Judge Edward J. Garcia.
20          The government is in the process of providing a substantial volume of discovery to defense
21   counsel. The total number of pages of discovery to be produced by the government exceeds 50,000
22   pages. Once received, defense counsel will need time to review the discovery materials produced
23   by the government and confer with his client. As such, government and defense counsel stipulate
24   it is appropriate to continue the current status conference to Friday, May 7, 2010 at 10:00 a.m.
25   Colleen Lydon has approved the May 7, 2010 hearing date. No jury trial date has been set.
26          The parties stipulate the Court should find that time be excluded through May 7, 2010 under
27   the Speedy Trial Act based on complexity and the need of counsel to prepare pursuant to 18 U.S.C.
28   §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local Code T4. The parties stipulate and agree that

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 1   the interests of justice served by granting this continuance outweigh the best interests of the public
 2   and the defendant in a speedy trial pursuant to18 U.S.C. § 3161(h)(8)(A).
 3             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
 4   behalf.
 5   IT IS SO STIPULATED.
 6   DATED: January 13, 2010                        BENJAMIN B. WAGNER
                                                    United States Attorney
 7
                                                    /s/ Russell L. Carlberg
 8                                                  RUSSELL L. CARLBERG
                                                    Assistant U.S. Attorney
 9
10   DATED: January 13, 2010                        LAW OFFICES OF SCOTT L. TEDMON
11                                                  /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
12                                                  Attorney for Defendant Garret Gililland III
13
14
15
                                                   ORDER
16
               GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
17
     ORDERED that the Status Conference now scheduled for Friday, January 15, 2010 at 10:00 a.m.,
18
     is hereby continued to Friday, May 7, 2010 at 10:00 a.m., before the Honorable Edward J. Garcia.
19
     Based upon the above stipulation, the Court finds that time be excluded under the Speedy Trial Act
20
     for complexity and need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(ii) and (iv),
21
     Local Code T2 and Local Code T4, through the Status Conference date of May 7, 2010. The Court
22
     finds that the interests of justice served by granting this continuance outweigh the best interests of
23
     the public and the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h)(8)(A).
24
               IT IS SO ORDERED.
25
     DATED: January 13 , 2010                       /s/ Edward J. Garcia
26                                                  EDWARD J. GARCIA
                                                    United States District Judge
27
28

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